     3:20-cv-01552-JMC        Date Filed 08/10/20       Entry Number 107     Page 1 of 2




                         UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF SOUTH CAROLINA
                              COLUMBIA DIVISION


MARY T. THOMAS, NEA RICHARD,
JEREMY RUTLEDGE,
THE FAMILY UNIT, INC., and the SOUTH
CAROLINA STATE CONFERENCE OF
THE NAACP,
                        Plaintiffs,

       v.
                                                         Case No.: 3:20-cv-01552-JMC

 MARCI ANDINO, in her official capacity
 as Executive Director of the South Carolina
                                                         PLAINTIFFS’ NOTICE OF
 State Election Commission; JOHN
                                                         VOLUNTARY DISMISSAL
 WELLS, in his official capacity as Chair of
                                                         PURSUANT TO FEDERAL RULE
 the South Carolina State Election
                                                         OF CIVIL PROCEDURE
 Commission; JOANNE DAY, CLIFFORD
                                                         41(a)(1)(A)(i)
 J. EDLER, LINDA McCALL, and SCOTT
 MOSELEY, in their official capacities as
 members of the South Carolina Election
 Commission;       and      HENRY         D.
 McMASTER, in his official capacity as
 Governor of South Carolina,


                             Defendant.

       PLEASE TAKE NOTICE that, pursuant to F.R.C.P. 41(a)(1)(A)(i) of the Federal Rules

of Civil Procedure, Plaintiffs Mary T. Thomas, Nea Richard, Jeremy Rutledge, The Family Unit,

and the South Carolina State Conference of the NAACP, by and through their undersigned

counsel, hereby voluntarily dismiss Defendant Henry D. McMaster.

Dated: August 10, 2020                         Respectfully Submitted,
     3:20-cv-01552-JMC        Date Filed 08/10/20   Entry Number 107       Page 2 of 2




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